OPINION — AG — ** DEPARTMENT OF PUBLIC SAFETY — DUAL COMPENSATION ** QUESTION(1): IF A MEMBER OF THE RETIREMENT AND PENSION PLAN OF THE DEPARTMENT OF PUBLIC SAFETY IS RETIRED, MAY BE THEREAFTER BE EMPLOYED BY SAID DEPARTMENT IN SOME CAPACITY OTHER THAN AS A MEMBER OF THE UNIFORM DIVISION OF THE HIGHWAY PATROL, PROVIDED THAT HE DOES NOT RECEIVE ANY RETIREMENT PAY WHILE SO EMPLOYED ? — AFFIRMATIVE, QUESTION(2): MAY SUCH PERSON, IN SUCH OTHER CAPACITY, AGAIN BE A MEMBER OF THE RETIREMENT AND PENSION PLAN SO AS TO BE ABLE TO MAKE CONTRIBUTIONS TO, AND ACCURE ADDITIONAL CREDIT IN, SAID PLAN ? — NEGATIVE (DUAL RETIREMENT, EMPLOYED, RETIREE) CITE: 47 O.S. 381.5 [47-381.5], 47 O.S. 381.8 [47-381.8] (RICHARD M. HUFF)